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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
 UNITED STATES OF AMERICA            :
                                     :
       v.                            : Criminal No. 21-CR-178 (APM)
                                     :
 JEFFREY BROWN,                      :
       Defendant.                    :
____________________________________:

                                            ORDER

       This matter having come before the Court on Defendant Jeffrey Brown’s Motion to

Modify a Condition of Release and for the reasons shown, it is therefore,

       ORDERED that the Motion is GRANTED, and the Court’s Order Setting Conditions

of Release (ECF No. 108) is hereby modified to permit Mr. Brown to travel to and from (1) his

local polling place on November 8, 2022, to exercise his constitutional right to vote; and (2)

his local barber shop to get a haircut before his November 22, 2022, jury trial.

                                                    Amit           Digitally signed
                                                                   by Amit Mehta

                                                    Mehta          Date: 2022.11.06
                                                    ____________________________
                                                    Amit P. Mehta  17:48:48 -05'00'
                                                    United States District Court Judge
